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10
                                IN THE UNITED STATES DISTRICT COURT
11
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN FRANCISCO DIVISION
13

14
       UNITED STATES OF AMERICA,                           Case No.: CR 19–279 CRB
15
                       Plaintiff,                          DECLARATION OF ROBERT ULTAN
16                                                         IN SUPPORT OF DEFENDANT’S
               v.                                          REPONSE TO UNITED STATES’
17                                                         SUPPLEMENTAL BRIEF
       JOSE RODRIGUEZ,
18                                                         Court:              Courtroom 6, 17th Floor
                       Defendant.
19                                                         Hearing Date:       December 12, 2019
                                                           Hearing Time:       10:00 a.m.
20

21
            I, Robert Ultan, declare the following:
22
            1. I am an investigator employed by the Federal Public Defender’s Office for the
23
                Northern District of California. As such, I am fully familiar with the facts of this case.
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            2. As part of my investigation on the above-captioned matter, I duly served a subpoena
25
                on the San Francisco Police Department (“SFPD”) on November 5, 2019. Among
26
                other things, this subpoena requested certified records of the following:
27
                    a. Any policies/procedures/manuals/guidelines on traffic stops and/or citations
28

     ULTAN DECL.
     RODRIGUEZ, CR 19–279 CRB
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 1                      for infractions that were in effect in February 2019; and
 2                  b. Records/reports of all stops since 1/1/2018 for violations of [California
 3                      Vehicle Code] 21235, including unredacted reports, and documents
 4                      establishing the results of those stops (i.e., custodial arrest, citation, warning,
 5                      etc.).
 6          3. On November 14, 2019, the SFPD custodian of records produced responsive records.
 7          4. True and accurate copies of relevant policies/procedures that I received are attached
 8              as follows:
 9                  a. Attached as Exhibit D is a copy of SFPD DGO 5.06 (Citation Release).
10                  b. Attached as Exhibit E is a copy of SFPD DGO 9.01 (Traffic Enforcement).
11          5. I received copies of 58 citations involving scooter infractions. I did not receive any
12              documentation or records of how many scooter infraction stops resulted in only a
13              warning and no citation.
14          6. I also received incident reports relating to 5 custodial arrests that involved scooter
15              infractions. One of those arrests related to the above-captioned case. Of the remaining
16              4, none of the arrestees was arrested solely on the basis of a scooter infraction—all of
17              them were arrested for additional criminal charges and/or outstanding warrants.
18                  a. Attached as Exhibit F is a true and accurate copy of excerpts from two of
19                      those other incident reports that contain information relevant to the Court’s
20                      inquiry about how police officers identify people.
21          I declare under the penalty of perjury that the foregoing is true and correct.
22          Executed on December 4, 2019, in San Francisco, California.
23
                                                              /s/
24
                                                            ROBERT ULTAN
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     ULTAN DECL.
     RODRIGUEZ, CR 19–279 CRB
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